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                          UNITED STATESDISTRICTCOURT
                                                 OFLOUISIANA
                          .lT]:Y      :]:]RICT
MYSHETTIA REID,
an individual,                                    CASENO.:

             Plaintiff,
                                                  Judge:
vs.

TEA FAST FOOD INVESTORS, LLC                      Magistrate:
a Delaware Limited Liability Company,

             Defendant.


                                        COMPLAINT
       plaintifl MySHETTIA REID, by andthroughher undersignedcounsel,herebyfiles this

                                     LLC.,aDelawareLimitedLiabilitycompffiY,
complaintandsuesTEA FASTFOODINVESTORS,

for declaratoryand injunctive relief, attorneys'fees,and costspursuantto the Americanswith

           Act, 42 U.S.C.$ 12181et s€Q.,andalleges:
Disabilities



l.     This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

                                                            referredto asthe"ADA"). This
       With DisabilitiesAct,42 U.S.C.S12l8l etseq.(hereinafter

       Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SSl33l and 1343.

2.     Venueis properin this Courtpursuant
                                         to 28 U.S.C.$1391(b).

3.     Plaintiff,MYSHETTIA REID, (hereinafterreferredto as"MS. REID" oT"PLAINTIFF"),is

       a residentof OrleansParish,Louisiana.
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                                                                                is a stroke
4.     MS. REID is a qualifiedindividualwith a disabilityunderthe ADA. MS. REID

       victim.

5.                                                  impairedin severalmajorlife activitiesand
       Dueto herdisability,pLAINTIFF is substantially

       requiresa wheelchairfor mobility.

6.     Upon informationand belief, DefendantTEA FAST FOOD INVESTORS,LLC is a

       DelawareCorporationnot currentlyregisteredto do businessin the Stateof Louisiana

                                 '.DEFENDANT"). DEFENDANT is the owner,lessee,lessor
       (hereinafterreferredto as

                                                        which is the subjectof this action,
       and/oroperatorof the realpropertiesandimprovements

                                generallylocatedat 1709N. GalvezStreet,New Orleans,LA
       to wit: Rally's Restaurant,

        70llg. TheDEFENDANTis obligatedto complywith the ADA'

 7.     All eventsgivingriseto this lawsuitoccurredin the EasternDistrictof Louisiana,Orleans

        Parish,Louisiana.


                     COUNT I - VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

 8.                                           | - 7 asif theywereexpresslyrestatedherein.
        pLAINTIFF reallegesandreaversParagraphs

 9.                                                subjectto the ADA, generallylocatedat:
        Thepropertyis a placeof public accommodation,

                                       LA70ll9.
        1709N. GalvezStreet,New Orleans,

 10.     MS. REID hasvisitedthe Propertynumeroustimesandplansto visit the Propertyagainin

        the nearfuture.

 11.                                           seriousdifficulty accessingthe goodsand
        During thesevisits, MS. REID experienced
                                                                             in paragraphl4 of
        utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                2
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      this Complaint.

t2.   MS. REID continuesto desireto visit the Properlry,but continuesto experienceserious

      difficulty dueto the baniersdiscussedin Paragraph14 which still exist.

1 3 . MS. REID intendsto and will visit the Propertyto utilize the goodsand servicesin the

      future,but fearsthat shewill encounterthe samebariers to accesswhich arethe subjectsof

      this action.

t4.   DEFENDANTis in violationof 42U.S.C.$ 1218l et seq.and28C.F.R.$ 36.302etseq.and

      is discriminatingagainstPLAINTIFF due to, but not limited to the following violations

                                                         which hinderedher access:
       which pLAINTIFF personallyobservedand/orencountered

              A.                         parkingspacesdesignatedas"van accessible";
                     Thereareno accessible

              B.     Thereis no compliantaccessaislefrom the streetto the facility;

              C.     Thereis no compliantaccessaislefrom the parkingto the facility;

              D.     Thereis no compliantaccessaisleto the restrooms;

              E.     Thesignsdesignatingdisabledusespacesarenotpostedat sufficientheights;

              F.     Thereareftrmpsat the facility thatdo not havelevel landingsand/orcontain

                     excessiveslopes;and

              G.        The restroomdoorthresholdsarenoncompliant.

 1 5 . Fgrthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

       similarly situated,by failing to make reasonablemodificationsin policies,practicesor

       procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

       opportunityto participatein, or benefit from, the goods,services,facilities, privileges,

                                 whichDEFENDANToffersto the generalpublic;andby
                 andaccommodations
        advantages,
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                                               to ensurethatno individualwith a disability
      failingto takesucheffortsthatmaybenecessary
                                                                              than other
      is excluded,denied services,segregated,or otherwise treated differently

      individuals becauseof the absenceof auxiliaryaidsandservices.
                                                                                     or
16.   To date,all bariers to accessandADA violationsstill existandhavenot beenremedied
                                                                          the ADA, even
      alteredin sucha way as to effectuatecompliancewith the provisionsof

      thoughremovalis readilyachievable.
                                                                                 is readily
17.   Removal of the discriminatorybarriers to accesslocated on the Property

                reasonablyfeasible,and easilyaccomplished,and would not placean undue
      achievableo

      burdenon DEFENDANT.
                                                                          PLAINTIFF an
19.    Removalof the barriersto accesslocatedon the Propertywould provide

       equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

       which DEFENDANT offersto the generalpublic'

20.    lndependentof his intent to return as a patronto the Property,PLAINTIFF additionally
                                                                                   herein
       intendsto refurnasan ADA testerto determinewhetherthe barriersto accessstated

       havebeenremedied.

21.    pLAINTIFF has been obligatedto retain the undersignedcounsel for the filing and

       prosecutionof this action. PLAINTIFF is entitledto havehis reasonableattorneys'fees,

                       paidby DEFENDANT,pursuantto 42 u.s.c. $ 12205.
       costs,andexpenses

       WHEREFORE,pLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

 following injunctiveanddeclaratoryreliefi

        A.     That this Court Declare that the Property owned, leasedand/or operatedby

               DEFENDANTis in violationof the ADA;


                                             4
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     That this Cowt enteran OrderdirectingDEFENDAhITto alter the facilrty to rnake

     it rccessibl€to anduseableby individualswith disabilitiesto tfle full extentrequired

     by Title III of th ADA;

c.   Thatthis Cotut enteranOr&, dirccdngDEFENDAIIT to evaluateandneutalize its

     policies,prrc*ices,ard procedrnwtowardspersonswith disabilitiesfor areasonable

     arnountof time, allowing implementationandcompletionof correctiveprocedures;

     Thst this Court awardreasonsbleattorneys'fee$,costs(including expertfees),and
                                                                t   l.       .   fi




D.

     othcr exp€nse$of suit, to PLAINTIFF; and

E.                                                                         jtrst and
     That this Court awardsuchother and firrttrerrelief as it deemsnecessary,

     proper.

                                                      Submitted,
                                           Respectfully

                                           T}IE BIZERLAW FIRM
                                           Attorneysfor Plaintiff
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